     Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 1 of 6




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,                 :
                                          :
      v.                                  :      CRIMINAL INDICTMENT
                                          :
ALLEN J. PENDERGRASS,                     :      NO. 1:17-CR-224-AT-LTW
                                          :
                                          :
Defendant.                                :

                                    ORDER



      This case arises on Defendant Allen Pendergrass's (“Mr. Pendergrass”)

Motion to Dismiss Indictment. (Doc. 90.) The Magistrate Judge has issued a

Report and Recommendation (“R&R”) that recommends the denial of the

motion. (Doc. 152). The Defendant in turn has filed objections to the R&R that

are now before this Court. (Doc. 152.).

      Mr. Pendergrass was initially indicted with his co-defendant Terrell

McQueen on June 27, 2017. (Doc. 1.) The indictment charged Pendergrass with

five counts of mail fraud, four counts of aggravated identity theft, and one count

of participating in a money laundering conspiracy. The Government does not

dispute "that the conduct for which the Atlanta Police Department ("APD")

arrested Pendergrass for in September 2013 is the same conduct that forms the

factual basis of the instant federal indictment." (Doc. 152 at 6-7.) However, Mr.

Pendergrass was never indicted on any state charges.
       Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 2 of 6




       The Defendant's Motion seeks the dismissal of the indictment based on

allegations that the Government violated Defendant's Fifth Amendment right to

due process and Sixth Amendment right to a speedy trial. (Doc. 90.)

       A district judge has broad discretion to accept, reject, or modify a

magistrate judge’s proposed findings and recommendations. United States v.

Raddatz, 447 U.S. 667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court

reviews any portion of the R&R that is the subject of a proper objection on a de

novo basis and any non-objected portion on a “clearly erroneous” standard.

Accordingly, the Court has reviewed the Defendant’s motion on a de novo basis as

Defendant’s objections go to the essence of the Magistrate Judge’s evidentiary

and legal analysis supporting the R&R’s conclusions.

       The Court agrees with the Magistrate Judge's overall legal analysis,

findings, and recommendation both as to Defendant’s claim that the

Government’s prosecution violated his Fifth Amendment due process rights as to

the timely initiation and conduct of a trial free from prejudicial tactical

manipulation and his Sixth Amendment right to a speedy trial. The Court finds

that   no   further   discussion   of   the   Magistrate   Judge’s   findings   and

recommendations regarding the Sixth Amendment issues raised is necessary as

Defendant’s objections simply are not legally viable.

       Defendant makes a colorable but insufficiently persuasive allegation of

prejudice in connection with his Fifth Amendment due process claim.

Specifically, he focuses particularly on the Government’s allegedly unfairly


                                         2
         Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 3 of 6




prejudicial actions in connection with the prosecution of this case. First, the

Government waited until 2017 to obtain an indictment against Defendant even

though federal law enforcement officers had earlier accompanied Atlanta Police

Department (“APD”) detectives in 2013 during APD’s investigation when

detectives executed a search warrant for Defendant’s business based on his

alleged fraudulent transactions involving the City of Atlanta. Mr. Pendergrass

was arrested by APD officers on September 19, 2013, when the search was

conducted. He stayed in state custody until he was released on bond on October

4, 2013. Yet no state charges were ever brought. Second, the U.S. Attorney’s

Office waited to indict Defendant on these City of Atlanta related fraud offenses

until after Defendant’s completion of his sentence in 2017 for other fraud offenses

for which he was indicted on January 30, 2014, in the U.S. District Court for the

Southern District of Ohio.1 The Court understands that this facially might appear

a peculiar or suspect sequence of events, as Defendant alleges. But the reality is

that Mr. Pendergrass was simultaneously facing potential separate and distinct

criminal charges in the Southern District of Ohio and Northern District of

Georgia in the same time frame. The federal prosecutors in Ohio moved more

quickly. The Government in the instant case secured a grand jury indictment

here on June 27, 2017, shortly before Defendant was released from federal

custody on his Ohio conviction and within the statute of limitations for the

charged offenses.          The Government’s determination to wait to pursue the


1   United States v. Allen J. Pendergrass, Case No. 2:14-cr-21 (S.D. Ohio).


                                                  3
     Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 4 of 6




indictment in this jurisdiction until Defendant’s release from his sentence on the

Ohio charges simply by itself does not constitute bad faith, even though it

technically could have proceeded while Defendant was incarcerated on the Ohio

criminal offenses.

      Defendant contends he has suffered prejudice in his trial preparations both

from this sequence of events and the passage of time in combination with his

weakening memory, witness availability, and the destruction of a swath of City of

Atlanta records resulting from third party hacking of City of Atlanta data systems.

But he has not presented any specific and concrete evidence as to prejudice or as

to bad faith tactical maneuver on the part of the Government that would warrant

the Court authorizing an exploratory evidentiary hearing under these

circumstances. The Court is prepared to address any issues posed by the loss of

City records or witnesses through requested jury instructions and appropriate

pretrial measures to be discussed with counsel. And of course, if Defendant’s

memory and capacity to testify is indeed impaired by his age or disease, such

evidence might conceivably be introduced as relevant. In sum, the Court finds

that the Magistrate Judge’s analysis and disposition of Defendant’s Fifth

Amendment due process claim are correct.

      Accordingly, the Court ADOPTS the Magistrate Judge’s R&R (Doc. 152)

and DENIES Defendant’s Motion to Dismiss Indictment (Doc. 90).

      The Court hereby sets the trial date for defendant Allen J. Pendergrass to

begin on August 30, 2021, at 9:30 AM in Courtroom 2308. Voir dire will be held


                                        4
      Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 5 of 6




on Friday, August 27, 2021, at 9:30 in Courtroom 2306. The pretrial conference

is set for August 18, 2021, at 10:30 AM in Courtroom 2308. Defendants are

required to attend the pretrial conference or present a written waiver of his

attendance. By July 14, 2021, the parties are to file any motions in limine and

proposed voir dire questions. By July 14, 2021, the Government is to file a

summary of the indictment for use in voir dire. By July 28, 2021, the parties are

to file any objections to those items listed above. The time from May 4, 2021, to

August 30, 2021, shall be excluded from computation under the Speedy Trial Act

pursuant to 18 U.S.C. § 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).

       The parties should be prepared to provide the Courtroom Deputy Clerk

with three (3) copies of your respective exhibit and witness lists at the start of

trial for use by the Judge, Court Reporter, and Courtroom Deputy Clerk. Each

party should also provide a courtesy copy of all exhibits for the Judge’s use during

trial, preferably in an appropriately labeled notebook provided on the first day of

trial. The parties are referred to Local Rule 16.4(B)(19)(b), NDGa, concerning the

pre-marking of exhibits.     The parties must provide a courtesy copy of any

documents e-filed just prior to trial or on any day during the course of the trial.

      Please refer to Judge Totenberg’s Guidelines to Parties and Counsel at

http://www.gand.uscourts.gov/case-prep-judge-totenberg           for      information

regarding the pretrial conference, voir dire, and courtroom technology. Any

training or trial runs regarding the courtroom technology must be scheduled in

advance of trial via the Courtroom Deputy Clerk. The Court will not allow time


                                          5
     Case 1:17-cr-00224-AT-CMS Document 177 Filed 05/04/21 Page 6 of 6




for training or trial runs at the beginning of the trial. Any motions requesting

leave to bring technology into the courtroom must be filed no later than three (3)

days in advance of trial, to allow time for proper notification to the US Marshals

Service.



      IT IS SO ORDERED this 4th day of May, 2021.




                                      ___________________________________
                                      AMY TOTENBERG
                                      UNITED STATES DISTRICT JUDGE




                                        6
